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                                      UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x-
                                                                             :
  J.P. Morgan Chase Bank, N.A.,                                              :
                                                                             :
                                Plaintiff,                                   :
                                                                             :
     v.                                                                      :  Civil Action No. 22-01621-JDW
                                                                             :
  CHARLIE JAVICE and                                                         :
  OLIVIER AMAR,                                                              :
                                                                             :
                                 Defendants.                                 :
                                                                             x
  -------------------------------------




      THE GOVERNMENT’S MOTION TO INTERVENE AND STAY DISCOVERY



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       The United States of America respectfully submits this motion (i) to intervene in the above-

captioned case (the “Civil Case”), pursuant to Rule 24 of the Federal Rules of Civil Procedure;

and (ii) to stay discovery in the Civil Case until the conclusion of the parallel criminal case, United

States v. Charlie Javice, 23-cr.-251 (S.D.N.Y.) (AKH) (the “Criminal Case”).

                                 PRELIMINARY STATEMENT

       This Court should stay discovery in the Civil Case until the conclusion of the trial in the

Criminal Case. The Civil Case arises from the same conduct and circumstances that underlie the

Criminal Case and litigation of the Civil Case will necessarily involve the same facts, documents,

and witnesses relevant to the criminal trial. A stay of discovery is appropriate because any

exchange of discovery in the Civil Case would be asymmetrical and would allow the defendants

to circumvent the criminal discovery rules and improperly tailor their defenses in the Criminal

Case. And a stay of discovery now would be fair because it would permit the defendants to litigate

putatively dispositive motions to dismiss in the Civil Case, while conserving the parties’ resources

and preventing improper abuse of civil discovery tools to gain advantage in the Criminal Case.

       Counsel for J.P. Morgan Chase Bank N.A. has informed the Government that their client

takes no position on the Government’s motion.      Counsel for Javice has informed the Government

that their client opposes the Government’s motion.           Counsel for Amar has informed the

Government that he opposes the Government’s motion, inasmuch as Amar requests that document

discovery proceed, but that any testimonial discovery be revisited upon completion of document

discovery.1 But as detailed below, the fairness, efficiency, and public good resulting from a stay


1
  Amar’s position, as provided by his counsel in a May 31, 2023 email to the Government, is the
following:

       Mr. Amar opposes the Government’s motion to intervene to seek a stay of
       discovery in this proceeding, which was commenced by JPMorgan’s civil
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of discovery outweighs the defendants’ preferences. Accordingly, and for the reasons set forth

below, the Government respectfully requests that this Court enter an order staying discovery in

this action until the completion of the Criminal Case.

                                           BACKGROUND

     I.      FACTUAL BACKGROUND

          As alleged in the complaint in the Criminal Case (the “Complaint,” attached as Exhibit A)

and the complaint by J.P. Morgan Chase Bank, N.A. (“JPMC”) in this action (the “Civil

Complaint”), in 2021, Javice and Amar engaged in a calculated scheme to falsely and dramatically

inflate the number of customers of their company, Frank, in order to fraudulently induce JPMC to

acquire Frank for $175 million. See, e.g., Compl. ¶ 8.2

          In or about 2017, Javice founded Frank, a for-profit company that offered an online

platform designed to simplify the process of filling out the Free Application for Federal Student

Aid (“FAFSA”). The FAFSA is a federal government form, available free of charge, that students

use to apply for financial aid for college or graduate school. Javice was Frank’s CEO. See, e.g.,

Compl. ¶¶ 9, 15-16.      Amar was Frank’s Chief Growth Officer.         In or about 2021, Javice began

to pursue the sale of Frank to a larger financial institution. Two major banks—one being JPMC—




          complaint, because he believes that such a motion is premature and that a blanket
          stay of all discovery would unfairly prejudice his rights. Rather, Mr. Amar
          believes that document discovery should proceed, and that the parties and the Court
          should revisit the issue of the timing of any testimonial discovery (e.g.,
          interrogatories, requests for admission, depositions, etc.) following the close of
          document discovery. This will give the parties in the civil action equal access to
          critical documents that Mr. Amar currently does not have, while affording greater
          and clearer insight into what, if any, interests of the parties to the action – and the
          Government – could be implicated by such testimonial discovery if the parties
          ultimately decide to seek such testimonial discovery.
2
    Citations to “Compl.” refer to the criminal complaint.



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expressed interest and began acquisition processes with Frank. Javice represented repeatedly to

those banks that Frank had 4.25 million customers or “users.” Javice explicitly defined “users”—

to both banks—as individuals who had signed up for an account with Frank and for whom Frank

therefore had at least four identified categories of data (i.e., first name, last name, email address,

and phone number). In fact, Frank had less than 300,000 users. See, e.g., Compl. ¶¶ 10, 18-19,

22-23.

         When JPMC sought to verify the number of Frank’s users and the amount of data collected

about those users—information that was critical to JPMC’s decision to move forward with the

acquisition process—Javice fabricated a data set. In order to do this, Javice and Amar first

approached a Frank employee and asked him to create a synthetic data set using, as a starting point,

a smaller set of actual Frank data. After raising concerns about the legality of the request, the

employee declined. See Compl. ¶ 22.

         Javice then approached a data scientist and hired him to create an artificially generated data

set (a so-called synthetic data set). Then, Javice provided that synthetic data set to an agreed-upon

third-party vendor in an effort to confirm to JPMC that the data set had over 4.25 million rows,

consistent with Javice’s misrepresentations. Through this process, Javice caused the third-party

vendor to convey to JPMC that the data set had over 4.25 million entries. See, e.g., Compl. ¶¶ 11,

21, 24-26.

         In reliance on Javice’s fraudulent representations about Frank’s users, JPMC agreed to

purchase Frank for $175 million. Javice made millions of dollars from the acquisition. See, e.g.,

Compl. ¶¶ 12, 31.

         Unbeknownst to JPMC, at or about the same time that Javice was creating the fabricated

data set, Javice and Amar sought to purchase, on the open market, real data for over 4.25 million

college students to cover up their lies. Javice and Amar succeeded in purchasing a data set of 4.5


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million students for $105,000, but it did not contain all the data fields that Javice had represented

to JPMC were maintained by Frank. Javice then purchased an additional set of data on the open

market, in order to augment the data set of 4.5 million users. After JPMC acquired Frank, JPMC

employees asked Javice and Amar to provide the data set of Frank users so that JPMC could begin

a marketing campaign to those users.         In response, Javice and Amar provided what was

supposedly Frank’s user data. In fact, Javice provided the data she and Amar had purchased on

the open market, at a small fraction of the price that JPMC paid to acquire Frank and its purported

users. See, e.g., Compl. ¶¶ 13, 28-30, 32.

   II.      PROCEDURAL BACKGROUND

         The events set forth above have resulted in three different federal court proceedings: (1) a

criminal prosecution against Javice and Amar in the Southern District of New York (i.e., the

Criminal Case); (2) an action by the Securities and Exchange Commission (“SEC”) filed against

Javice and Amar in the Southern District of New York, SEC v. Javice, No. 23 Civ. 02795 (LJL)

(the “SEC Case”); and (3) the above-captioned civil case filed by JPMC against Javice and Amar

in the District of Delaware (i.e., the Civil Case). As described below, shortly after her indictment,

aware that the Government intended to move for stays of discovery, Javice sought civil discovery

in both the Civil Case and the SEC Case. The Government has sought and obtained a stay of

discovery in the SEC Case, and now moves for the same in this case.




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         A.     The Criminal Case in the U.S. District Court for the Southern District of
                New York

         On April 3, 2023, Charlie Javice was arrested pursuant to a criminal complaint (the

“Complaint”) filed in the U.S. District Court for the Southern District of New York, charging

Javice with conspiracy to commit wire fraud and bank fraud, wire fraud, bank fraud, and securities

fraud.

         On May 18, 2023, a grand jury in the Southern District of New York issued Indictment 23

Cr. 251 (AKH) charging Javice in four counts with conspiracy to commit wire fraud and bank

fraud, wire fraud, bank fraud, and securities fraud.

         On June 6, 2023, the Government and Javice appeared for their initial conference before

Judge Hellerstein in the Criminal Case, at which the Government: (1) produced voluminous Rule

16 discovery to the defense; and (2) requested a trial date in October 2023—which was in fact

scheduled, but then adjourned sine die at Javice’s request.

         With respect to discovery, prior to the start of the conference, the Government provided

Javice’s counsel a production cover letter and a hard drive containing discovery materials, pursuant

to Federal Rule of Criminal Procedure 16, in the Criminal Case. The Government confirmed the

same on the record, explaining that the Government “actually handed the defense a hard drive

today, containing all or, if not all, the vast majority of the Rule 16 discovery in our possession

presently.” (Exhibit B (June 6, 2023 Tr.) at 4). The Government described “the size of the

discovery” it had just produced, explaining that “the data is about 90 gigabytes, and to put it in a

less technical way, it’s about 106,000 files” consisting primarily “of subpoena returns from about

30 different . . . third parties.” (Id. at 4). The discovery also included “three warrants related to

cellphones,” one of which was “for the cellphone that Ms. Javice had on her at her arrest,” the

contents of which the Government had not yet accessed. (Id. at 4-5). A fourth warrant, for the



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seizure of assets in bank accounts, was “the extent of the warrants in the case.” (Id. at 5-6). Finally,

the Government noted that the criminal “investigation is ongoing, and as we receive additional

materials, we will be providing them to the defense” promptly. (Id. at 6).

        With respect to scheduling, the Government explained that the “defense has requested . . .

that the Court set another conference in about 45 days,” but “[t]he government’s ready to try the

case,” “prepared to set a trial date today,” and is “available in October” for the trial. (Id. at 8).

Judge Hellerstein responded that he would “set a trial date when we’re all ready, then I’ll set it

quickly.” (Id. at 8). Judge Hellerstein set a conference for approximately 45 days later, on July 13,

as requested by the defense. (Id.).

        The Government then moved to exclude time under the Speedy Trial Act until the date of

the conference requested by the defense, to which the defense objected. (Id. at 8-9). In response,

the Government renewed its request “to set a trial date in October,” estimating that the trial would

take “eight to ten trial days.” (Id. at 9). Judge Hellerstein accordingly scheduled trial to begin

October 16. (Id.). Javice—immediately abandoning her objection to the exclusion of Speedy Trial

time—requested that trial not proceed on that date and that a trial date not be set. (Id.).

        On July 12, 2023, a grand jury in the Southern District of New York issued a superseding

Indictment in the Criminal Case charging Amar in the same four counts as Javice.                   The

superseding indictment is attached as Exhibit C.

        The following day, at the July 13, 2023 conference, the Government again reiterated that

it was ready to set a trial date, but understood that the defendants were requesting to return for

another conference before setting a motions schedule. (July 13, 2023 Tr. attached as Exhibit D at

2-3).   Judge Hellerstein scheduled another pretrial conference for August 15, 2023, to set a

motions schedule and receive an update on the status of JPMC’s rolling productions in response

to the Government’s grand jury subpoena. (Id. at 13-14). No trial date has yet been set.


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         B.     The SEC Case in the U.S. District Court for the Southern District of New
                York

         On April 4, 2023, the SEC filed a complaint against Javice in the U.S. District Court for

the Southern District of New York related to the same scheme charged in the Complaint.

         On May 23, 2023, after learning that the Government intended to seek a stay of discovery

in the SEC Case, Javice served requests for the production of documents on the SEC pursuant to

Federal Rules of Civil Procedure 26 and 34, which call for the production of responsive documents

on or before June 22, 2023. (SEC Case Dkt. 25 at 2). The SEC asked the district court to adjourn

its deadline to respond to those discovery requests until 21 days after the court’s ruling on the

Government’s motion to stay discovery. (See id. at 1). Javice opposed this request. (See id. at 2).

         On May 24, 2023, the Government moved to intervene and to stay discovery in the SEC

Case. (SEC Case Dkt. 20). Javice filed an opposition. (SEC Case Dkt. 29). The Government filed

a reply. (SEC Case Dkt. 32). Oral argument on the motion was heard before the Honorable Lewis

J. Liman on June 15, 2023. On June 20, 2023, Judge Liman issued an eighteen-page opinion

granting the Government’s motion to intervene and its motion to stay the SEC Case. (SEC Case

Dkt. 34, attached as Exhibit E).3 Carefully assessing the same six factors that courts apply in this

Circuit,4 Judge Liman held that none of the factors favored proceeding with discovery, two of the

factors were neutral, and four of the factors favored a stay. (Id. at 7-17). Specifically, Judge

Liman found that the private interests of, and any burdens on, the plaintiff and the defendant were


3
    SEC v. Javice, No. 23 Civ. 2795 (LJL), 2023 WL 4073797 (S.D.N.Y. June 20, 2023)
4
  Compare Ex. E at 7 (quoting the six factors from Trustees of Plumbers & Pipefitters Nat.
Pension Fund v. Transworld Mech., Inc., 886 F. Supp. 1134, 1139 (S.D.N.Y. 1995) applicable in
the Second Circuit), with, Walsh Sec., Inc. v. Cristo Prop. Mgmt., Ltd., 7 F. Supp. 2d 523, 526–
27 (D.N.J. 1998) (citing the six factors from Trustees of Plumbers & Pipefitters applicable in the
Third Circuit); see also, e.g., SEC v. Coburn, No. CV195820KMMAH, 2019 WL 6013139, at
*2–3 (D.N.J. Nov. 14, 2019) (following “the Walsh factors”).



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neutral, whereas (a) the overlap between the Criminal Case and the SEC Case, (b) the status of the

Criminal Case, (c) the interests of the courts, and (d) the public interest all favored a stay of

discovery. (Id.). Accordingly, Judge Liman stayed discovery.

       On July 12, 2023, the SEC amended its complaint to add Amar as a defendant. (SEC

Case Dkt. 41, attached as Exhibit F).

       C.      The Civil Case in the U.S. District Court for the District of Delaware

       On December 22, 2022, JPMC filed a complaint (the “Civil Complaint”) in this court

against Charlie Javice and Olivier Amar. (Civil Case Dkt. 1). On February 27, 2023, Javice filed

an answer and counterclaim. (Civil Case Dkt. 10). On March 1, 2023, Amar filed a motion to

dismiss the Civil Complaint for failure to state a claim. (Civil Case Dkt. 14). This motion triggered

an automatic stay of discovery in the Civil Case pursuant to the Private Securities Litigation

Reform Act (the “PSLRA”). See 15 U.S.C. § 78u-4(b)(3)(B).

       On April 7, 2023, in the Civil Case, JPMC filed a motion to partially lift the PSLRA stay

in order to “conduct limited, particularized discovery targeting Defendant Charlie Javice’s transfer

of proceeds from the merger at issue in this litigation and failure to preserve evidence.” (See Civil

Case Dkt. 30 at 1). On April 10, 2023, Javice opposed the motion to partially lift the stay of

discovery. In her opposition, Javice noted that “Congress intended that the stay be lifted only in

rare circumstances—its only example was the preservation of a dying witness’ testimony through

deposition.” (See Civil Case Dkt. 36 at 7).

       As set forth above, the grand jury in the Southern District of New York indicted Javice on

May 18th, a Thursday. On Sunday, May 21st, counsel for Javice5 asked counsel for JPMC whether



5
 Javice is represented by the same counsel in the Civil Case, the Criminal Case, and the SEC
Case.



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JPMC “would agree to the opening of full discovery” in the Civil Case. (Exhibit G (May 21, 2023

email to JPMC counsel)).

       On June 1, 2023, Javice filed a motion to lift the PSLRA stay. (See Civil Case Dkt. 43).

In that motion, Javice stated that she “is not limiting her requests to documents that JPMC already

shared with the Government.” (See id. at 15). JPMC opposed the motion.

       On or about July 13, 2023, this Court denied Amar’s motion to dismiss, which had the

effect of lifting the PSLRA stay. (See Civil Case Dkt. No. 58).

                                           ARGUMENT

       The Government’s requests to intervene and for a stay of discovery in the Civil Case should

be granted. Were discovery in the Civil Case to proceed, there would be a risk of significant

interference with the Criminal Case. A stay of discovery in the Civil Case would prevent the

circumvention of important statutory limitations on criminal discovery, avoid asymmetrical

discovery, and preserve the Court’s resources because many of the issues presented by the Civil

Case will be resolved in the Criminal Case. And particularly because such a stay would be limited

to delaying the production of discovery, it would not prejudice any party to the Civil Case.

I.     THE GOVERNMENT SHOULD BE GRANTED PERMISSION TO INTERVENE

       Under Rule 24(a)(2) of the Federal Rules of Civil Procedure, anyone may intervene as of

right in an action when the applicant “claims an interest relating to the property or transaction that

is the subject of the action” and the applicant “is so situated that ‘disposing of the action may as a

practical matter impair or impede the movant’s ability to protect its interests. . . .’” Alternatively,

Rule 24(b)(2) provides for permissive intervention when the movant “has a claim or defense that

shares with the main action a common question of law or fact.” The Government respectfully

submits that its application satisfies both of these provisions, given the effect upon the Criminal




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Case this civil proceeding would have and the similarity of claims and facts between the parallel

proceedings.

        As a general rule, courts “have allowed the government to intervene in civil actions—

especially when the Government wishes to do so for the limited purpose of moving to stay

discovery.” Twenty First Century Corp. v. LaBianca, 801 F. Supp. 1007, 1009 (E.D.N.Y. 1992);

see also SEC v. Credit Bancorp., 297 F.3d 127, 130 (2d Cir. 2002); S.E.C. v. Abdallah, 313 F.R.D.

59, at 64 (N.D. Ohio 2016) (quoting S.E.C v. Nicholas, 569 F.Supp.2d 1065, 1068 (C.D. Cal. 2008)

for the proposition that “numerous courts have allowed the United States government to intervene

in a civil case for the purpose of moving to stay discovery and other proceedings until resolution

of a related criminal case.”). The Government has a “discernible interest in intervening in order to

prevent discovery in a civil case from being used to circumvent the more limited scope of discovery

in the criminal matter.” SEC v. Chestman, 861 F.2d 49, 50 (2d Cir. 1988).

        As an initial matter, intervention is warranted because the public interest in enforcement of

the criminal laws cannot be protected adequately by the existing parties in this civil litigation, none

of whom represents the Government’s interests with respect to the investigation and enforcement

of federal criminal statutes. See Bureerong v. Uvawas, 167 F.R.D. 83 (C.D. Cal. 1996) (“[T]he

Government’s prosecutorial and investigative interest is not adequately protected by any of the

civil parties . . . . Clearly neither the plaintiff or the defendants have this identical interest.”).

        Moreover, a trial in this action in advance of a related criminal trial could impair or impede

the Government=s ability to protect its interests in the enforcement of federal criminal law. This

case and the related Criminal Case arise from the same alleged scheme to commit fraud in

connection with Frank’s acquisition. Holding a civil trial before a criminal trial would create the

possibility that there will be two trials concerning the same fraudulent acts and therefore the

probability that witnesses will be unnecessarily burdened by having to testify twice. In light of


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those circumstances, the Government respectfully submits that its application to intervene should

be granted.

II.     A STAY OF DISCOVERY IN THIS ACTION SHOULD BE GRANTED

        The Court can and should stay proceedings to prevent Javice and Amar from using the civil

discovery process to circumvent the limitations that the Federal Rules of Criminal Procedure place

on discovery in criminal cases. A stay would also serve the ends of justice, in that it would allow

the Court to conserve judicial resources, would prevent the possibility of conflicting legal

decisions, and would spare witnesses the burden of having to testify in civil depositions at or near

the same time they are testify at the criminal trial.

        A.      Applicable Law

        This Court has the inherent power to stay discovery in the interests of justice pending the

completion of a parallel criminal trial. “[T]he power to stay proceedings is incidental to the power

inherent in every court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254

(1936); see also United States v. Kordel, 397 U.S. 1, 12 n.27 (1970) (collecting cases) (noting

“[f]ederal courts have deferred civil proceedings pending the completion of parallel criminal

prosecutions when the interest of justice seemed to require such action”); United States v. Mellon

Bank, 7545 F.2d 869, 872–73 (3d Cir. 1976) (“It was clearly within the power of the district court

to balance ‘competing interests’ and decide that judicial economy would best be served by a stay

of civil proceedings.”). In particular, courts in this Circuit and around the country have recognized

that where the same or similar facts and issues are presented in separate civil and criminal actions,

staying the civil action promotes the administration of justice because “resolution of the criminal

case would moot, clarify, or otherwise affect various contentions in the civil case” and eliminate

“the possibility that [the defendant] might improperly exploit civil discovery for the advancement


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of his criminal case.” Mellon Bank, 7545 F.2d at 872–73. When considering whether to grant a

stay, courts balance the following factors:

               (1) the extent to which the issues in the criminal case overlap with those presented

       in the civil case;

               (2) the status of the case, including whether the defendants have been indicted;

               (3) the private interests of the plaintiffs in proceeding expeditiously weighed

       against the prejudice to plaintiffs caused by the delay;

               (4) the private interests of and burden on the defendants;

               (5) the interest of the court; and

               (6) the public interest.

See Walsh Sec., Inc. v. Cristo Prop. Mgmt., Ltd., 7 F. Supp. 2d 523, 526–27 (D.N.J. 1998) (citing

Trustees of Plumbers and Pipefitters National Pension Fund v. Transworld Mechanical, Inc., 886

F. Supp. 1134, 1139 (S.D.N.Y. 1995)).

       Here, the Criminal Case arises from an identical set of facts and circumstances that underlie

this action. In similar situations, courts in this Circuit and others6 have routinely entered a stay of


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  See, e.g., CFTC v. Baldwin, et al., No. 21 Civ. 5707 (LJL), ECF Doc. 54 (S.D.N.Y. Nov. 15,
2021) (granting stay of all proceedings except for entry of default judgment against non-appearing
defendants); SEC v. Hu, No. 20 Civ. 5496 (DLC), ECF Doc. 12 (S.D.N.Y. Sep. 21, 2020) (granting
full stay with consent of defendant and non-objection of plaintiff); SEC v. LaGuardia, No. 19 Civ.
5895 (ALC) (SDA), ECF Doc. 31 (S.D.N.Y. Jan. 23, 2020) (granting partial stay over defendant’s
objection); SEC v. Blakstad, No. 19 Civ. 6387 (DLC), ECF Doc. 17 (S.D.N.Y. Sep. 10, 2019)
(granting full stay that was unopposed); SEC v. Pinto-Thomaz, No. 18 Civ. 5757 (JPO), ECF Doc.
21 (S.D.N.Y. Oct. 11, 2018) (granting full stay that was unopposed); SEC v. Wey, No. 15 Civ.
7116 (PKC) (S.D.N.Y. June 9, 2016) (after Government’s motion for partial stay of discovery, and
over objection of multiple defendants, implementing full stay of discovery, with the exception that
SEC would produce testimony transcripts that had been produced in criminal case); SEC v. Town
of Ramapo N.Y., et al., No. 16 Civ. 2779 (CS), ECF Doc. 90 at 42 (S.D.N.Y. Nov. 4, 2016)
(granting partial stay requested by Government over defense objection); SEC v. Durante et al., No.
15 Civ. 9874 (RJS) (S.D.N.Y. Mar. 23, 2016) (after Government’s initial motion for partial stay
of discovery, fully staying discovery and proceedings in the matter); SEC v. Shkreli, et al., No. 15



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parallel civil actions, even over a defendant’s objection. See, e.g., SEC v. Coburn, No. Civ. 195820

(KMM), 2019 WL 6013139 (D.N.J. Nov. 14, 2019) (granting stay and denying defendants’

requests for partial discovery); Bryer v. Jefferson, No. Civ. 12-1028-GMS, 2013 WL 3753420 (D.

Del. July 8, 2013) (granting stay after plaintiff indicted and over defendants’ objections); Colombo

v. Bd. of Educ. for the Clifton Sch. Dist., No. Civ.A. 11-00785 (CCC), 2011 WL 5416058 (D.N.J.

Nov. 4, 2011) (granting stay over plaintiff’s objection); Tucker v. New York Police Dep’t, No. 08-

CV-2156 (DMC), 2010 WL 703189, at *8 (D.N.J. Feb. 23, 2010) (granting stay); Doe v.

Schneider, No. Civ. 08-3805, 2010 WL 11561113 (E.D. Pa. June 8, 2010) (granting stay over

plaintiff’s objection after defendant indicted); SEC v. Schiff, No. Civ. 05-4132 (FSH), 2006 WL

2690266 (D.N.J. Sept. 19, 2006) (granting stay over defendants’ objections); Maloney v. Gordon,

328 F. Supp. 2d 508, 514 (D. Del. 2004) (staying all proceedings in a civil case pending resolution

of parallel criminal proceeding).




Civ. 7175 (KAM), 2016 WL 1122029, at *2-7 (E.D.N.Y. Mar. 22, 2016) (granting, over
defendants’ opposition, a full stay); SEC v. Dubovoy, 15 Civ. 6076, Docket No. 244 (Transcript of
Oral Decision) (D.N.J. Jan. 29, 2016) (granting stay of discovery of civil case in light of parallel
criminal action, notwithstanding “vigorous[] oppos[ition]” from certain of the civil defendants
who were not a party to the criminal action); Harris v. Nassau County et al., No. 13 Civ. 4728
(NGG) (RML), 2014 WL 3491286, at *4 (E.D.N.Y. July 11, 2014) (“Courts consistently hold that
a stay of a civil case is most appropriate where a party to the civil case has already been indicted
for the same conduct.” (quotation marks omitted)); SEC v. One or More Unknown Purchasers of
Securities of Global Indus., Ltd., No. 11 Civ. 6500 (RA), 2012 WL 5505738, at *3 (S.D.N.Y. Nov.
9, 2012) (granting request for full stay of discovery for six months over defendant’s objection
while criminal investigation was proceeding but prior to any criminal charge); SEC v. Nicholas,
569 F. Supp. 2d 1065, 1070 (C.D. Cal. 2008) (granting full stay over defendants’ objections).



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       B.      Discussion

       Application of each of the relevant factors here weighs in favor of the stay sought by the

Government.

               1.      The Extent of the Overlap

       That the criminal and civil cases involve essentially identical facts and issues weighs

heavily in favor of a stay. “The similarity of issues has been termed ‘the most important issue at

the threshold’ in determining whether or not to grant a stay.” Walsh Sec., Inc., 7 F. Supp. 2d at 527

(quoting Judge Milton Pollack, Parallel Civil and Criminal Proceedings, 129 F.R.D. 201, 203

(S.D.N.Y. 1989)); see also Parker v. Dawson, No. 06 Civ. 6191 (JFB), 2007 WL 2462677, at *4

(E.D.N.Y. Aug. 27, 2007) (same); United States v. One 1964 Cadillac Coupe DeVille, 41 F.R.D.

352, 353 (S.D.N.Y. 1966) (“Where both civil and criminal proceedings arise out of the same or

related transactions the government is ordinarily entitled to a stay of all discovery in the civil case

until disposition of the criminal matter.”).

       Here, as described above, the Criminal Case and this case involve the same alleged

fraudulent scheme perpetrated by Javice and Amar. Virtually all of the same documents, witnesses,

and other evidence that would be used by the parties to prove their claims would also be used to

prove aspects of the Government’s case. As a result, this factor weighs heavily in favor of a stay.

See Ex. E at 7 (“The parties do not dispute that the first two factors [the extent of the overlap and

the status of the criminal case] favor a stay.”). Allowing the Civil Case to proceed at this time

would create a serious risk that substantially the same set of facts would have to be proven twice

in two different proceedings, draining resources from the courts and inconveniencing witnesses.

               2.      The Status of the Criminal Case

       The filing of the Indictment in the Criminal Case also weighs in favor of a stay. “If criminal

indictments are returned against the civil defendants, then a court should strongly consider staying


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the civil proceedings until the related criminal proceedings are resolved.” Maloney, 328 F. Supp.

2d at 512; accord In re Par Pharm, Inc. Sec. Litig., 133 F.R.D. 12, 13 (S.D.N.Y. 1990) (“The

weight of authority in this Circuit indicates that courts will stay a civil proceeding when the

criminal investigation has ripened into an indictment.”); SEC v. Shkreli, No. 15 Civ. 7175 (KAM),

2016 WL 1122029, at *5 (E.D.N.Y. Mar. 22, 2016) (“[T]he strongest argument for granting a stay

is where a party is under criminal indictment.” (quotation and citation omitted)); Trustees of

Plumbers and Pipefitters Nat’l Pension Fund, et al. v. Transworld Mechanical, Inc., 886 F. Supp.

1134, 1139 (S.D.N.Y. 1995) (“A stay of a civil case is most appropriate when a party to the civil

case has already been indicted for the same conduct for two reasons: first, the likelihood that a

defendant may make incriminating statements is greatest after an indictment has issued, and

second, the prejudice to the plaintiffs in the civil case is reduced since the criminal case will likely

be quickly resolved.”). Javice and Amar have been indicted and have received, or will shortly

receive, discovery pursuant to Rule 16 of the Federal Rules of Criminal Procedure. Accordingly,

this factor likewise weighs in favor of a stay.

                3.      The Potential Prejudice to the Parties

        A stay of discovery will not prejudice any party. See, e.g., Tucker, 2010 WL 703189, at *7

(granting full stay of civil case and explaining that “[t]he mere fact that additional time will pass”

is insufficient to “establish prejudice”). As an initial matter, the requested stay is limited to a stay

of discovery, and the defendants will therefore still be able to continue to litigate motions to

dismiss the Civil Case while the Criminal Case is pending. Moreover, granting a stay of discovery

in the Civil Case to permit the Criminal Case to proceed to its conclusion would in fact benefit

Javice and Amar, as granting a stay of discovery in the Civil Case would, for now, obviate their

being forced to choose between being prejudiced in the Civil Case by the assertion of Fifth




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Amendment rights or being prejudiced in the Criminal Case if they waived those rights. See S.E.C.

v. Dresser Indus., Inc., 628 F.2d 1368, 1376 (D.C. Cir. 1980).

       In the SEC case, Javice argued that this factor weighed in her favor because (1) “Ms.

Javice’s life is on the line here, and time is of the essence,” and (2) should she win an acquittal in

the Criminal Case, she would be “forced to start completely over again in [the SEC Case].” See

SEC Case Dkt. 29, attached as Exhibit H. Judge Liman concluded that these arguments “are

without merit.” Ex. E at 10.   He noted that, “If [Javice] had an interest in adjudicating the claims

against her as quickly as possible, she had that opportunity.” Id. Judge Liman also rejected Javice’s

claim that she would “be forced to start all over again” if she were acquitted in the criminal action,

concluding that (1) “any delay in the ultimate resolution of all of the governmental cases against

Javice is at least partially of her own manufacture,” and (2) due to the volume of discovery

produced in the Criminal Case, “Javice is wrong to suggest that after the criminal case is

concluded, she will have to start at square one.” Id. at 11. Judge Liman therefore found that this

factor was neutral.

       In terms of the prejudice to the plaintiff, JPMC has informed the Government that it takes

no position on the Government’s motion. This factor is therefore also neutral as to JPMC. See Ex.

E at 9 (“The third factor is the private interest of the plaintiff—in this case, the SEC—in proceeding

expeditiously. This factor is neutral as the SEC has taken no position on this motion.”).

Accordingly, a stay of discovery would not prejudice the parties to the Civil Case.

               4.      The Interests of the Court

       Considerations of judicial economy also weigh in favor of granting a stay of discovery.

Issues common to both cases can be resolved in the criminal proceeding, thereby simplifying the

civil action. See Coburn, 2019 WL 6013139, at *5 (“[J]udicial economy favors a stay because the




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Criminal Case may clarify, moot, and refine some issues common to both cases”); Maloney, 328

F. Supp. 2d at 513 (“Staying this case is better for judicial efficiency”); Jefferson, No. CV 12-

1028-GMS, 2013 WL 3753420, at *1 (“proceeding with discovery under the shadow of the

criminal action would actually create greater inefficiency”); SEC v. Contorinis, No. 09 Civ. 1043

(RJS), 2012 WL 512626, at *2 (S.D.N.Y. Feb. 3, 2012) (“Courts in this district have consistently

found that a defendant convicted of securities fraud in a criminal proceeding is collaterally

estopped from relitigating the underlying facts in a subsequent civil proceeding.”); SEC v. One or

More Unknown Purchasers of Secs. of Global Indus., 2012 U.S. Dist. LEXIS 162772, at *12

(S.D.N.Y. Nov. 9, 2012) (“[T]he Civil Case is likely to benefit to some extent from the Criminal

Case no matter its outcome.”).

        Because the Criminal Case’s outcome will likely affect the conduct, scope, and result of

the Civil Case, potentially streamlining issues in this matter and avoiding duplication of effort and

judicial resources, this factor favors the Government’s application. See Ex. E at 14 (“Judicial

efficiency will be promoted by a stay . . . [If] Javice is convicted, the jury’s findings likely would be

entitled to collateral estoppel effect. And even if she is not convicted, proceedings in the criminal case

will no doubt be helpful in clarifying the issues between the parties and more quickly bringing this

case to conclusion.”) (internal citation omitted).

                5.      The Public Interest

        The Government and the public have an important interest in ensuring that civil discovery

is not used to circumvent the well-founded restrictions that pertain to criminal discovery—

restrictions that, inter alia, preserve the truth-seeking functions of the criminal process by

restraining the ability of criminal defendants to tailor testimony, suborn perjury, manufacture

evidence or intimidate witnesses. See Mellon Bank, 545 F.2d at 872 (affirming stay where “the

similarity of the issues” in the civil and criminal cases “left open the possibility that [the defendant]


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might improperly exploit civil discovery for the advancement of his criminal case”); United States

v. Percevault, 490 F.2d 126, 129 (2d Cir. 1974) (noting that the Jencks Act, 18 U.S.C. § 3500,

“represents a legislative determination that access to a witness’ statements could be useful in

impeaching a witness but was not intended to be utilized in preparation for trial”); United States

v. McCarthy, 292 F. Supp. 937, 942 (2d Cir. 1968) (“The claimed need to see such statements in

advance in order to prepare to rebut them is little more than open notice of an intention to tailor

testimony to fit the statement.”); Nicholas, 569 F. Supp. 2d at 1070 (the criminal rules were

“purposefully limited so as to prevent perjury and manufactured evidence, to protect potential

witnesses from harassment and intimidation, and to level the playing field between the government

and the defendant, who would be shielded from certain discovery by the Fifth Amendment”).

       In Tuzman, Judge Nathan outlined three principal Government interests justifying a stay of

discovery of civil proceedings while parallel criminal proceedings are pending:

               First, broad disclosure of the essentials of the prosecution’s case
               may lead to perjury and manufactured evidence. Second, revelation
               of the identity of prospective witnesses may create the opportunity
               for intimidation. Third, criminal defendants may unfairly surprise
               the prosecution at trial with information developed through [civil]
               discovery, while the self-incrimination privilege would effectively
               block any attempts by the Government to discover relevant evidence
               from the defendants.

Tuzman, No. 15 Civ. 7057 (AJN), ECF No. 43 at 3-4 (internal citations and quotations omitted).

Based on these concerns, courts frequently have granted Government requests to limit discovery

in a parallel civil action in order to prevent the civil discovery rules from being subverted into a

device for improperly obtaining discovery in the criminal proceeding. See, e.g., id. at 3-7 (granting

stay sought by Government); SEC v. Beacon Hill Asset Management LLC, No. 02 Civ. 8855

(LAK), 2003 WL 554618, at *1 (S.D.N.Y. Feb. 27, 2003) (in granting government’s motion to

stay, court noted: “The principal concern with respect to prejudicing the government’s criminal



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investigation is that its targets might abuse civil discovery to circumvent limitations on discovery

in criminal cases.”); Phillip Morris Inc. v. Heinrich, No. 95 Civ. 328 (LMM), 1996 WL 363156,

at *19 (S.D.N.Y. June 28, 1996) (granting stay motion because if “civil discovery is not stayed,

the criminal investigation will be prejudiced, as the Defendants may have an opportunity to gain

evidence to which they are not entitled under criminal discovery rules.”); Bd. of Governors of the

Federal Reserve System v. Pharaon, 140 F.R.D. 634, 639 (S.D.N.Y. 1991) (“‘A litigant should not

be allowed to make use of the liberal discovery procedures applicable to a civil suit as a dodge to

avoid the restrictions on criminal discovery and thereby obtain documents he would not otherwise

be entitled to for use in his criminal trial.’” (quoting Campbell v. Eastland, 307 F.2d 478, 487 (5th

Cir. 1952))).

       Indeed, the rationale underlying a stay is even stronger in an indicted matter, given that a

defendant in a charged criminal case likely will invoke his Fifth Amendment rights in the civil

case and not participate in the very discovery process he or she seeks to use affirmatively. See, e.g.,

SEC v. Chakrapani, Nos. 09 Civ. 325 (RJS), 09 Civ. 1043 (RJS), 2010 WL 2605819 (S.D.N.Y.

June 29, 2010) (inviting the Government to renew its motion to stay discovery if the defendant

intends to invoke the Fifth Amendment if noticed for a deposition); Nicholas, 569 F. Supp. 2d at

1070 (noting when granting full stay that “[t]he specter of parties and witnesses invoking their

Fifth Amendment rights would render discovery largely one-sided; the SEC would produce scores

of documents and witness testimony only to be precluded from gathering reciprocal discovery

from the defendants”).

       A denial of the Government’s requested stay would therefore result in asymmetrical

discovery, pursuant to which the Civil Case defendants would be able to obtain statements from

relevant witnesses through depositions and to use other discovery mechanisms, such as requests




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for admission and interrogatories, to obtain information from the Civil Case plaintiff and others,

while the Civil Case plaintiff would be unable to use any of these discovery mechanisms to obtain

information from Javice or Amar, because of the assertion of their Fifth Amendment rights. Such

asymmetry is both unfair and a circumvention of the criminal discovery rules that govern when

criminal defendants are entitled to obtain prior statements of the Government’s trial witnesses. See

18 U.S.C. § 3500(b) (prior statements of Government witnesses must be made available after the

witnesses have testified on direct examination).

        Here, the record makes plain that Javice is seeking civil discovery for use in her criminal

trial. Indeed, Javice’s counsel expressly told the SEC as much. (See Exhibit I (SEC Dkt. 31), at 2

n.1 (“[D]efense counsel explained, in substance, that Javice’s interest in obtaining documents from

the Commission related to her need to defend herself in a private action pending in Delaware as

well as the parallel criminal case.” (emphasis added))). Javice’s actions are in accord with that

moment of candor with the SEC. While the SEC filed its Complaint in April, Javice served

discovery requests on the SEC only after Javice was indicted in the Criminal Case. (See id. at 1

(noting Javice’s May 23 discovery request—a mere five days after the May 18 indictment)).

        Likewise, in this action between Javice and JPMC, Javice began efforts to obtain civil

discovery only after—and very shortly after—her criminal indictment. The grand jury in the

Southern District of New York indicted Javice on May 18, a Thursday. On Sunday, May 21,

counsel for Javice asked counsel for JPMC whether JPMC “would agree to the opening of full

discovery.” (Exhibit G (May 21, 2023 email to JPMC counsel)). Javice made this request

notwithstanding the fact that, prior to her indictment, Javice had opposed JPMC’s request for a

partial lifting of the discovery stay in effect in that case pursuant to the Private Securities Litigation




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Reform Act (the “PSLRA”).7 (Civil Case Dkt. 36). On June 1, Javice filed a motion in this case

to lift the PSLRA stay, in which she made clear that she “is not limiting her [discovery] requests

to documents that JPMC already shared with the Government.” (Civil Case Dkt. 43 at 15). Javice’s

transparent efforts to use the civil discovery process as an end run around the criminal discovery

process jeopardizes the integrity of the criminal process, wastes judicial resources, and is contrary

to the public interest.

         In the SEC Case, Judge Liman found this factor favored a stay.               In so finding, Judge

Liman noted that a stay is “often necessary where liberal discovery rules will allow a litigant to

undermine, or gain an unfair advantage in, a potential criminal prosecution which parallels the subject

matter of the civil action.” Ex. E at 14. Judge Liman concluded that “[a]lthough Javice contends that

the public has an interest in a ‘fair, open, and expeditious civil legal proceeding,’ and in ‘seeing this

action promptly resolved,’ that interest is not limited to the resolution of the civil action. It also applies

to the resolution of the criminal action, which must take place in a manner that respects the rules of

criminal procedure applicable to all other criminal defendants. A stay is necessary to protect the

integrity of those rules.” Id. at 14-15. (internal citations omitted).

         Therefore, in order to avoid circumvention of the criminal discovery restrictions, including

the provisions that are designed to prevent defendants from tailoring their testimony and obtaining

asymmetrical discovery, and because the Civil Case defendants will not in any way be prejudiced

in preparing and defending themselves, this factor weighs in favor of the Government’s

application.




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    See 15 U.S.C. § 78u-4(b)(3)(B).



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                                         CONCLUSION

       For the reasons set forth above, the Government respectfully requests that its motion to

intervene and for a stay of discovery in this matter be granted.

       Dated: New York, New York
              July 25, 2023


        DAMIAN WILLIAMS                                    DAVID C. WEISS
        United States Attorney for the                     United States Attorney for the
        Southern District of New York                      District of Delaware

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                                      UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x-
                                                                             :
  J.P. Morgan Chase Bank, N.A.,                                              :
                                                                             :
                                Plaintiff,                                   :
                                                                             :
     v.                                                                      :  Civil Action No. 22-01621-JDW
                                                                             :
  CHARLIE JAVICE and                                                         :
  OLIVIER AMAR,                                                              :
                                                                             :
                                 Defendants.                                 :
  ------------------------------------- x

                                        (PROPOSED) ORDER
                   WHEREAS, on July 25, 2023, the Government submitted a motion seeking

  to intervene in this action and seeking a stay of discovery in this action, in light of the

  pendency of the parallel criminal action United States v. Charlie Javice and Olivier Amar,

  23 Cr. 251 (AKH) (the “Criminal Case”), in which an indictment has been returned; and

                   WHEREAS, J.P. Morgan Chase Bank, N.A. takes no position on the stay of

  discovery requested by the Government; and

                   WHEREAS, the Court finds that the stay of discovery requested by the

  Government is in furtherance of the interests of justice and judicial economy and will not

  prejudice any party; it is hereby

                  ORDERED that the Government’s motion to intervene is GRANTED;

                  IT IS FURTHER ORDERED that discovery in this action is stayed during

  the pendency of the Criminal Case.

  SO ORDERED:

  ____________________________________                                        _____________________
    HONORABLE JOSHUA D. WOLSON                                                DATE
    UNITED STATES DISTRICT JUDGE


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